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IN THE UNITED sTATES DISTRICT coURT .- FlLED BY_ or
FoR THE wEsTERN DISTRICT oF TENNESSEE '*

WESTERN DIVISION l 05 AUG 30 AH `!. hs

 

UNITED STATES OF AMERICA,

 

Plaintiff,

vS. Cv. NO. 04-2844-Ml/P
Cr. NO. 02-20308~Ml

CHRISTOPHER R. CASEY,

Defendant.

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ORDER CORRECTING THE DOCKET
ORDER DENYING MOTION PURSUANT TO 28 U.S.C. § 2255
ORDER DENYING CERTIFICATE OF APPEALABILITY
AND
ORDER CERTIFYING APPEAL NOT TAKEN IN GOOD FAITH

 

Defendant Christopher R. Casey, Bureau of Prisons (“BOP")
inmate registration number 18566~076, who is currently incarcerated
at the Federal Correctional Institution in Forrest City, Ar]<ansas,l
filed a p;Q §§ motion pursuant to 28 U.S.C. § 2255 on October 18,
2004.

On August 22, 2002, a federal grand jury returned a single-
count indictment charging that Casey, on or about November l, 2001,
retained Or concealed United States Savings Bonds Series HH in the
amount of $287,500 knowing that the same were stolen, in violation of
18 U.S.C. § 510(b). Pursuant to a muitten plea agreement, Casey

appeared before this judge on December 30, 2002 to plead guilty to the

 

1 Although the defendant did not notify the Clerk of his new address, his
current location is found on the BOP website. The Clerk is ORDERED to correct the
docket to reflect the defendant's current address.

This document entered on the docks
with Ru!¢__a 58 and!or 79(&) FRCP on

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sole count of the indictment. The Court conducted a sentencing hearing
on March 3l, 2003, at which time Casey was sentenced to imprisonment
for a term of sixty-three (63) months, to be followed by a three-year
period of supervised release. Judgment was entered on April l, 2003.
Casey’s direct appeal was voluntarily dismissed on September 22, 2004.
United States v. Casev, No. 03-5538 (6th Cir. Sept. 22, 2004).

Casey has now filed a motion pursuant to 28 U.S.C. § 2255.
Casey first states that “petitioner held hostage, captive, involuntary
forced peonage under fraudulent documents, district court of
petitioners, [sic] Conviction has-had [sic] no jurisdiction to
prosecute petitioner, abscent [sic] commerce nexus, state land at
locus quo not ceded to U.S. and more.” He goes on to state that
“[m]ovant-petitioner rejects corporate existence and invokes his
guaranteed republican forum as his own political will i.e. self-
governing juris et dejure, mull tiel [sic] corporation and does not
consent to remain in prison.” Casey demands that the Court separately
respond to each of his sixty-one (61) issues. However, the motion does
not set forth sixty-one (61) issues. Instead, attached to the motion
is a twenty-eight (28) page document, entitled “Justification.” Each
of the paragraphs is separately numbered, but each paragraph consists
of textual argument, rather than “issues,” none of which are
individually tailored to the facts of this defendant’s offense, guilty
plea, and sentencing.

Paragraphs 1-11, 40-41, 44, 46, and 55 assert that the
federal government did not have territorial jurisdiction over the land
on which the offense occurred because the State of Tennessee did not

cede control of the land. This argument lacks merit for several

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reasons. First, the statute under which Casey was convicted does not

require that the offense have been committed on federal land. See

United States v. Callan, 72 Fed. Appx. 349, 350-51 (6th Cir. Aug. 4

l

2003).2 Second, this Court has subject-matter jurisdiction pursuant to
18 U.S.C. § 3231, which provides that “[t]he district courts of the
United States shall have original jurisdiction, exclusive of the

courts of the States, of all offenses against the laws of the United

States.”
As a result, the Sixth Circuit has flatly rejected similar
challenges to the jurisdiction of the federal courts over violations

of federal criminal statutes:

Here, contrary to Bryson's argument, the district court
properly exercised jurisdiction over his offenses. Although
Bryson maintained that his offenses did not occur within the
territorial jurisdiction of the United States, it is clear
that 18 U.S.C. § 3231 gives the federal courts original and
exclusive jurisdiction over federal crimes. §§§ United
States v. Allen, 954 F.2d 1160, 1165-66 (6th Cir. 1992). The
district court indisputably had subject matter jurisdiction
over his indictment for violations of 21 U.S.C. § 841 and
18 U.S.C. § 924(c). Federal courts have exclusive
jurisdiction over offenses against the laws of the United
States under 18 U.S.C. § 3231; the permission of the states
is not a prerequisite to exercise that jurisdiction. gee
United States v. Sitton, 968 F.2d 947, 953 (9th Cir. 1992).

 

United States v. Brvson, No. 00-3619, 2001 WL 700816, at *2 (6th Cir.
June 15, 2001); see also Callan, 72 Fed. Appx. at 350-51; United
States v. Hamilton, 263 F.3d 645 (6th Cir. 2001) (rejecting a
defendant’s contention that Louisville, Kentucky is outside the

jurisdiction of the federal government; “This is a frivolous argument

 

2 Eighteen U.S.C. § 510(b) provides: “Whoever, with knowledge that such
Treasury check or bond or security of the United States is stolen or bears a falsely
made or forged endorsement or signature buys, sells, exchanges, receives, delivers,
retains, or conceals any such Treasury check or bond or security of the United
States shall be fined under this title or imprisoned not more than ten years, or
both . ”

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that ignores the basic principles of federalismq The fact that
Kentucky has sovereignty within its boundaries does not bar the United
States from having concurrent jurisdiction to indict and prosecute
Hamilton for federal crimes occurring within those same boundaries.”);
United States v. Mundt, 29 F.3d 233, 237 (6th Cir. 1994) (rejecting
as “completely without merit and patently frivolous” the argument that
defendant cannot be prosecuted for income tax violations because he
is solely a resident of Michigan and not of any “federal zone”).

For all the foregoing reasons, the issues raised in LL 1-11
are without merit and are DISMISSED.

Paragraphs 12-14 and 19, although not clear, seem to suggest
that federal criminal statutes are constitutional only when they
concern an enumerated power of the federal government. Paragraphs 42-
43 make an unclear argument about the Tenth Amendment and the division
of authority between the federal government and the states. As Casey
recognizes, see Justification, I 13, one of those enumerated powers
authorizes the federal government to coin money and provide for the
punishment of counterfeiting of the coins and securities of the United
States. Moreover, the Necessary and Proper Clause empowers Congress
“[t]o make all Laws which shall be necessary and proper for carrying
into Execution the foregoing Powers, and all other Powers vested by
this Constitution in the Government of the United States, or in any
Department or Officer thereof.” U.S. Const., art. I, § 8, cl. 18.
United States v. Worrall, 2 U.S. (2 Dall.), 384, 393 (17981 (Chase,
J.), which Casey cites, holds that the Necessary and Proper Clause
empowers Congress to create, define, and punish crimes. This issue is

without merit and is DISMISSED.

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Paragraphs 15-18 argue that there are no federal common law
offenses and, therefore, federal criminal statutes must be enacted by
Congress. Casey was convicted of violating 18 U.S.C. § 510(b), a
federal criminal statute. This issue is without merit and is
DISMISSED .

Next, I 20 states that the Constitution does not mean one
thing at one time and another thing at another time when circumstances
have changed. Paragraph 45 seems to make a similar point, invoking the

principle of stare decisis. Paragraph 21 states that it is treasonous

 

for judges to decline to exercise jurisdiction they are given or to
act in the absence of jurisdiction. Casey does not explain the
application of these propositions to this case. These issues are
without merit and are DISMISSED.

Paragraphs 22-28 argue that the Court has no authority to
act in the absence of subject-matter jurisdiction, which cannot be
waived. These paragraphs further argue that the Court lacked
territorial jurisdiction over the offense and personal jurisdiction
over‘ him. As previously stated, see _§gprg= p. 3, this Court has
subject-matter jurisdiction pursuant to 18 U.S.C. § 3231. The
indictment alleged. that the offense in question occurred in the
Western District of Tennessee. The plaintiff was apparently arrested
in this district. These arguments are without merit and are DISMISSED.

Paragraphs 29-31 argue that the statute under which Casey
was convicted does not contain an interstate commerce nexus and,
therefore, 18 U.S.C. § 510(b) exceeds the .power of Congress to
regulate interstate and foreign commerce. As previously mentioned,

however, see supra p. 4, the statute in question is authorized by the

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Necessary and Proper Clause. This issue is udthout merit and is
DISMISSED.

Next, II 32-38 cite to the Administrative Procedures Act,
5 U.S.C. § 552 §§ §§gy, and the Federal Register Act, 44 U.S.C. §
1505, for the propositions that (i) criminal statutes that have not
been enacted into positive law cannot form the basis for a criminal
prosecution and (ii) federal statutes are invalid in the absence of
implementing' regulations. Casey' has not cited a single decision
invalidating a federal criminal conviction because the statutes were
not published in the Federal Register. Indeed, the Federal Register
Act, 44 U.S.C. § 1505, on which Casey relies, by its terms, does not
require federal criminal statutes tx) be published ill the Federal
Register. Thus, several courts have rejected similar challenges to
federal criminal statutes. See, e.g., Walton v. United States, 184 F.
Supp.2d 773, 776 (N.D. Ill. 2002); United States v. O’Learv, No.
CRIM.97-25-P-H, 1999 WL 1995207, at *2 & n.4 (D. Me. Jan. 14, 1999).
In the tax context, where claims of this nature have most frequently
been asserted, courts have uniformly rejected the proposition that
federal statutes are invalid unless they are published in the Federal
Register and are accompanied by implementing regulations. Seel e.g.,
Gass v. United States, No. Civ. 99-B-930, 2000 WL 1204575, at *2 (D.
Colo. Mar. 15, 2000) (“An interpretative regulation is not necessary
if the Congressional mandate of the Internal Revenue Code provision
is clear.”). This issue is without merit and is DISMISSED.

Paragraphs 39, 45, and 56 assert that the indictment is
defective because it failed to allege that the defendant's acts had

some connection to interstate or foreign commerce. As previously

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explained, see supra p. 5, 18 U.S.C. § 510(b) has no interstate
commerce element.

Paragraph 39 contains another argument, largely
unintelligible, about how Congress was not properly in session on June
25, 1948 and, therefore, title 18 of the United States Code is not
positive law. Casey does not cite any authority invalidating a federal
criminal statute on this basis, and the argument has been rejected by
other courts. United States v. Charles, Crim. No. 00-20022-01-KHV,
Civil No. 02-3100-KHV, 2002 WL 31056548, at *4 (D. Kan. Sept. 9, 2002)
(“Defendant argues that his conviction should be overturned because
Title 18 of the United States Code was never properly enacted into
positive law. Defendant asserts that Congress was not in session on
June 25, 1948, the date Title 18 was purportedly enacted. Even if the
Court assumes that Title 18 was not properly enacted, defendant's
claim is without merit because he has not challenged the validity of
the underlying legislation.”) (collecting cases). Moreover, Casey
does not even attempt to explain how this argument is applicable to
18 U.S.C. § 510(b), which was enacted in 1983 and therefore unaffected
by the purported 1948 recodification. These issues are without merit
and are DISMISSED.

Next, II 47-48 assert that 18 U.S.C. § 3551, concerning
authorized sentences for violations of the federal criminal laws, is
inapplicable to this case because of the various jurisdictional
defects previously identified. As each of these purported defects has
been rejected, this issue is without merit and is DISMISSED.

Paragraphs 49-54 argue that a federal district court can

lack subject-matter jurisdiction over a criminal case because of a

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defect in the indictment, such as the fact that the criminal statute
at issue is unconstitutional or was not properly enacted into law. For
example, I 52 asserts, in part, that “if a complaint or information
charges one with a violation of a law which has no enacting clause,
then no valid law is cited.” Paragraph 54 asserts that the
“jurisdictional nexus" was not presented to the grand jury. This
argument is without merit for several reasons. First, the Supreme
Court has made clear that any defects in an indictment do not
implicate a district court’s subject-matter jurisdiction. ggiped

States v. Cotton, 535 U.S. 625, 629-31 (2002); see also United States

 

 

v. Titterington, 374 F.3d 453 (6th Cir. 2004). Second, Casey has not
identified any particular defect in his indictment and has not cited
any authority for the proposition that 18 U.S.C. § 510(b) was not duly
enacted or is unconstitutional. This issue is without merit and is
DISMISSED.

Paragraph 57 says that void judgments have no res judicata
effect. For the reasons previously stated, however, the judgment in
this case is not void.

Paragraph 58 refers to 18 U.S.C. § 3231, which is the basis
for the Court’s subject-matter jurisdiction over this criminal case.
According to the document submitted by Casey:

Defendant contends that the district (Tribunal) court

of his conviction exercised “JURISDICTION” under 18 u.s.c.
3231. Apply not to the acts of congress [sic], which are
applicable only in the district of columbia [sic]. see Rule
54(c). Said court mentions nothing in reference to common
law or vice admiralty, the only two jurisdictions mentioned
in the constitution, the constitution mentions nothing that
could be construed as “JURISDICTION” under 18 u.s.c. 3231.
Totally absent all jurisdiction to convict this defendant.

Conviction in this case was void, Ab initio. (Emphasis and
irregular capitalization in original.)

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This argument is incomprehensible. To the extent Casey is making an
argument about the geographic reach of the federal criminal laws, his
argument is without merit for the reasons discussed suprg, pp. 2-4.
The motion, together with the files and record in this case
“conclusively show that the prisoner is entitled to no relief.” 28
U.S.C. § 2255; see also Rule 4(b), Rules Governing Section 2255
Motions in the United States District Courts. Therefore, the Court
finds that a response is not required from the United States Attorney
and that the motion may be resolved without an evidentiary hearing.

United States v. Johnson, 327 U.S. 106, 111 (1946); Baker v. United

 

States, 781 F.2d 85, 92 (6th Cir. 1986). Defendant's conviction and
sentence are valid and therefore, his motion is DENIED.

Consideration must also be given to issues that may occur
if the defendant files a notice of appeal. Twenty-eight U.S.C. §
2253(a) requires the district court to evaluate the appealability of
its decision denying a § 2255 motion and to issue a certificate of
appealability (“COA”) only if “the applicant has made a substantial
showing of the denial of a constitutional right.” 28 U.S.C. §
2253(c)(2); see also Fed. R. App. P. 22(b); Lvons v. Ohio Adult Parole
guphy, 105 F.3d 1063, 1073 (6th Cir. 1997) (district judges may issue
certificates of appealability under the AEDPA). No § 2255 movant may
appeal without this certificate.

In Slack v. McDaniel, 529 U.S. 473, 483-84 (2000), the
Supreme Court stated that § 2253 is a codification of the standard
announced in Barefoot v. Estelle, 463 U.S. 880, 893 (1983), which
requires a showing that “reasonable jurists could debate whether (or,

for that matter, agree that) the petition should have been resolved

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in a different manner or that the issues presented were “‘adequate to
deserve encouragement to proceed further.'” §lagk, 529 U.S. at 484
(quoting Barefoot, 463 U.S. at 893 & n.4).

The Supreme Court recently cautioned against undue
limitations on the issuance of certificates of appealability:

[O]ur opinion in Slack held that a COA does not require a
showing that the appeal will succeed. Accordingly, a court
of appeals should not decline the application of a COA
merely because it believes the applicant will not
demonstrate an entitlement to relief. The holding in Slack
would mean very little if appellate review were denied
because the prisoner did not convince a judge, or, for that
matter, three judges, that he or she would prevail. It is
consistent with § 2253 that a COA. will issue in some
instances where there is no certainty of ultimate relief.
After all, when a COA is sought, the whole premise is that
the prisoner “‘has already failed in that endeavor.'”

Miller-El v. Cockrell, 537 U.S. 322, 337 (2003) (quoting Barefoot, 463
U.S. at 893). Thus,

[a] prisoner seeking a COA must prove “‘something more than
the absence of frivolity’” or the existence of mere “good
faith” on his or her part. . . . We do not require
petitioners to prove, before the issuance of a COA, that
some jurists would grant the petition for habeas corpus.
Indeed, a claim can be debatable even though every jurist
of reason might agree, after the COA has been granted and
the case has received full consideration, that petitioner
will not prevail.

ld; at 338 (quoting Barefoot, 463 U.S. at 893); see also idé at 342
(cautioning courts against conflating their analysis of the merits
with the decision of whether to issue a COA; “The question is the
debatability of the underlying constitutional claim, not the

resolution of that debate.”).3

 

3 By the same token, the Supreme Court also emphasized that “[o]ur holding

should not be misconstrued as directing that a COA always must issue." Id. at 337.
Instead, the COA requirement implements a system of “differential treatment of those
appeals deserving of attention from those that plainly do not.” Id.

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In this case, for the reasons previously stated, the
defendant's claims are plainly lacking in substantive merit and,
therefore, he cannot present a question of some substance about which
reasonable jurists could differ. The Court therefore DENIES a
certificate of appealability.

The Prison Litigation RefornlAct of 1995 (“PLRA”), 28 U.S.C.
§ 1915(a)(3), does not apply to appeals of orders denying § 2255
motions. Hereford v. United States, 117 F.3d 949, 951 (6th Cir. 1997);
cf. McGore v. Wrigglesworth, 114 F.3d 601, 610 (6th Cir. 1997)
(instructing' courts regarding' proper PLRA. procedures in. prisoner
civil-rights cases). Rather, to seek leave to appeal ip forma pauperis
in a § 2255 case. and thereby avoid the $255 filing fee required by
28 U.S.C. §§ 1913 and 1917,4 the prisoner must seek permission from
the district court under Rule 24(a) of the Federal Rules of Appellate
Procedure. Hereford, 117 F.3d at 952. If the motion is denied, the
prisoner may renew the motion in the appellate court.

Rule 24(a) states, in pertinent part that:

A party to an action in a district court who desires to
proceed on appeal ip forma pauperis shall file in the
district court a motion for leave to so proceed, together
with an affidavit, showing, in the detail prescribed.by Form
4 of the Appendix of Forms, the party’s inability to pay
fees and costs or to give security therefor, the party’s
belief that that party is entitled to redress, and a

statement of the issues which that party intends to present
on appeal.

 

‘ Effective November l, 2003, the fee for docketing an appeal is $250. See

Judicial Conference Schedule of Fees, I l, Note following 28 U.S.C. § 1913. Under
28 U,S.C. § 1917, a district court also charges a $5 fee:

Upon the filing of any separate or joint notice of appeal or application
for appeal or upon the receipt of any order allowing, or notice of the
allowance ofr an appeal or of a writ of certiorari $5 shall be paid to
the clerk of the district court, by the appellant or petitioner.

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The Rule further requires the district court to certify in writing
whether the appeal is taken in good faith. For the same reasons the
Court denies a certificate of appealability, the Court determines
that any appeal in this case would not be taken in good faith. It is
therefore CERTIFIED, pursuant to Fed. R. App. P. 24(a), that any
appeal in this matter by this defendant is not taken in good faith,
and he may not proceed on appeal ip fppma pauperis.

IT ls so oRDERED this \5@ day of August, 2005.

chill

JON PHIPPS MCCALLA
UNI ED STATES DISTRICT JUDGE

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 2 in
case 2:04-CV-02844 Was distributed by faX, mail, or direct printing on
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Christopher Robert Casey
FCI-FORREST CITY

1 8566-076

1301 Dale Bumpers Road
Forrest City, AR 72335

Timothy R. DiScenZa

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/lemphis7 TN 38103

Honorable .1 on McCalla
US DISTRICT COURT

